FILE DATE: 4/19/2012

CONFIRMED

dst 4. oy -Ulyo6y Document 1-3 Filedin [XSD on CSE) {2 =
Case 2: md-02179-CJB-DPC Document 7025-2 Filed 08/01/12 ° Por Pe x D

sine Ban fo]
- 8 oe
2072-2289 rime, PR 19 201
CAUSE NO. By attla County, Yexgs
PEGGY KEMP, INDIVIDUALLY,AND § IN THE DISTRICT COURT OF

IN HER CAPACITY AS THE SURVIVING §
NATURAL MOTHER OF ROY WYATT §
KEMP, DECEASED §

Vv. HARRIS COUNTY, TEXAS \

INC., BP, PLC, BP AMERICA, INC.,
BP PRODUCTS NORTH AMERICA,
INC., AND HALLIBURTON ENERGY

§
§
§

BP EXPLORATION AND PRODUCTION, §
§
§
§

SERVICES, INC. § 74 JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION

and REQUEST FOR DISCLOSURE

COMES NOW, PEGGY KEMP, INDIVIDUALLY, AND IN HER CAPACITY AS THE
SURVIVING NATURAL MOTHER OF ROY WYATT KEMP, DECEASED, Plaintiff, and files
this Original Petition complaining of BP EXPLORATION AND PRODUCTION, INC., BP, PLC,
BP AMERICA, INC., BP PRODUCTS NORTH AMERICA, INC., AND HALLIBURTON
ENERGY SERVICES, INC., hereinafter called Defendants, and for cause of action would show unto

the Court the following:

I.
Pursuant to Rules 190.1 and 190.4 of the Texas RULES OF CIVIL PROCEDURE, Plaintiff

intends to conduct discovery under Level 3.

Il.

ma
i
><
ii

Defendant BP EXPLORATION AND PRODUCTION, INC. is a foreign corporation with

its principal place of business in Texas and may be served with process through its registered agent

for service, C, T. Corporation System, 350 North St. Paul St., Dallas, Texas 75201.
Udst 4.1Z-CV-UI9oY Locument1-3 Filedin

TXSD on 07/02/12 Pace 3
‘Case 2:10-md-02179-CJB-DPC Document 7025

Of 2H? BGG Sal ii
-2 Filed 08/01/12 Page 2 of 9

Defendant BP, PLC is a foreign corporation duly licensed to do business in the State of Texas
and is doing business in the State.

Defendant BP AMERICA, INC. is a foreign corporation with its principal place of business
in Texas and may be served with process through its registered agent for service, C. T. Corporation
System, 350 North St. Paul St., Dallas, Texas 75201.

Defendant BP PRODUCTS NORTH AMERICA, INC. is a foreign corporation with its
principal place of business in Texas and may be served with process through its registered agent for
service, Prentice Hall Corp. System, 211 E. 7" St., Suite 620, Austin, Texas 78701-3218.

Defendant HALLIBURTON ENERGY SERVICES, INC. is a foreign corporation with its
principal place of business in Texas and may be served with process through its registered agent for
service, C.T. Corporation System, 350 North St. Paul St., Dallas, Texas 75201.

Ii.

Venue in this case is proper in Harris County, Texas because Defendants, BP
EXPLORATION AND PRODUCTION, INC. and HALLIBURTON ENERGY SERVICES, INC.,
have their principal places of business in Harris County, Texas.

Furthermore, venue is proper under Section 15.005 of the Civil Practice & Remedies Code
because there are two or more parties joined as Defendants, and this cause of action is a joint and
indivisible cause. The causes of action arise out of the same transaction, occurrence, or series of
peipaenttons or occurrences. The causes of action are so intimately connected as to justify the joinder
of these Defendants in the suit and are so intimately connected that they need to be joined to avoid

a multiplicity of suits.
Lease 4.12Z-CV-UIYsY Document i-3 Filed in TX G2
Case 2:10-md-02179-CJB-DPC Document fogs: > Filed Osois12 * “Page 3 of 9

Additionally, Plaintiff specifically invokes her rights under Tex. Civ. Prac. & Rem. Code §
71.031, which is commonly known as the "open forum" provision, and chooses to maintain this
action in the state district courts of Texas.

IV.

It has become necessary to bring this suit by reason of the serious injury and death of Roy
Wyatt Kemp on or about April 20, 2010. At Hig time of the injury and subsequent death of Roy
Wyatt Kemp, he was aboard the MODU, Deepwater Horizon. Roy Wyatt Kemp’s injuries and
resulting death occurred while he was working in the course and scope of his employment as a crew
member of the MODU, Deepwater Horizon. Accordingly, Roy Wyatt Kemp was a seaman employed
by the operator of the Deepwater Horizon and/or BP Exploration and Production, Inc. This suit is,
therefore, instituted under and controlled by the terms and provisions of Title 46, United States Code
Annotated, Section 30104 and following, commonly referred to as the "Jones Act," incorporating the
Federal Employers' Liability Act, and general maritime law.

Plaintiff would show that nothing Roy Wyatt Kemp, Deceased, did or failed to do on the
occasion in question caused or in any way contributed to cause his injury and subsequent death. To
the contrary, the occurrence in which Roy Wyatt Kemp, Deceased, was injured and subsequently died
was proximately caused by the negligence, as that term is understood in law, by Defendants, their
agents, servants, and employees, who were acting in the course and scope of their employment for

the Defendants at all times material to this action.
LCase 4:1 2-cv-UT¥sey Documenti-3 Filedin !
‘ Case 2:10-md-02179-CJB-DPC Document + o38

Lee ey

me
NO

V.

The BP Defendants were negligent and grossly negligent in the following particulars:

1)
2)
3)
4)

>)

6)

7)

8)

9)

10)

failing to provide a safe place to work;

rushing the drilling operation to save money;

use of improper well control services;

utilizing improper material to control the pressure in the well;

failing to use the proper weight and type of drilling mud to control the
pressure in the well and prevent a blowout and explosion;

continuing drilling operations once they knew or should have known that a
blowout would occur;

failing to heed warnings from other contractors of the dangers involved with
use of the well control materials that BP chose to use in the critical hours
before the blowout;

misinterpreting the results of the negative pressure test;

participation in improper cement design, testing, quality assurance and risk
assessment; and

other acts of negligence.

Halliburton Energy Services, Inc. was negligent and grossly negligent in the following

particulars:

1)

2)

3)

4)

5)

failing to design an appropriate cement plan for the well;
failing to properly execute and confirm a successful cement job;

failing to critically and properly assess problems with foam stability
contamination and fluid loss potential prior to the job;

failing to fully test the cement slurry prior to execution of the job; and

other acts of negligence.

4.
Lease 4714-Cv-Ui¥sy Document 1-3 Filed in |XSD on O7 it 25 0;
‘ Case 2:10-md-02179-CJB-DPC Document 7025-2 Filed 6g/ot/12 “Page 5 of 9

VI.

Defendants owed to Roy Wyatt Kemp, Deceased, a duty to furnish him a safe place to work
and a seaworthy vessel, and as applied to Roy Wyatt Kemp, Deceased, Defendants failed in those
respects and such unseaworthiness of the MODU, Deepwater Horizon, caused and resulted in the
death of Roy Wyatt Kemp and damages sustained by Plaintiff. These conditions were brought about
and caused by Defendants. The conditions created by the negligent and grossly negligent conduct
set forth in paragraph V rendered the vessel unseaworthy, and those allegations are incorporated by
reference herein as if set forth verbatim. The negligent and grossly negligent conduct of Defendants
were not isolated acts and omissions, but were pervasive and repeated frequently during the drilling
of the well and, as such, resulted in an improper method of operation. Plaintiff alleges further that
Defendants engaged in improper and unreasonably dangerous methods of operation in drilling the
well, and their conduct created conditions that rendered the MODU, Deepwater Horizon,
unseaworthy and resulted in the injuries and subsequent death of Roy Wyatt Kemp.

VIL.

Plaintiff would show that the above-described incident was proximately caused by the
aforementioned negligence and gross negligence of Defendants. Defendants breached their legal
duties and such breach caused the death of Roy Wyatt Kemp and damages to Plaintiff.

Plaintiff would show that Defendants were negligent through acts and omissions, jointly and
severally, by and through agents, servants, and/or employees, acting in the course and scope of their

respective employments, individually and/or collectively.
Ldse 4.'4Z-Cv-Ulyou Vocument i-3 Filedin 1:ASb on Us/G2/12
- Case 2:10-md-02179-CJB-DPC Document 7025-2 Filed 08/01/12 “Page 6 of 9

Vill.

Peggy Kemp is the surviving natural mother of Roy Wyatt Kemp, Deceased. By reason of
negligence and gross negligence of the named Defendants, and the unseaworthiness of the MODU,
Deepwater Horizon, the companionship, assistance, support, services, nurture, guidance, counsel,
society, love, affection, solace and comfort which Roy Wyatt Kemp, Deceased, would have made
to his mother, Peggy Kemp, have been forever swept away.

Asa direct and proximate result of the negligence of Defendants, Plaintiff, Peggy Kemp has
suffered serious damages resulting from the death ofher son, Roy Wyatt Kemp, in both the past and
in the future, including loss of household services, loss of consortium, loss of economic support, and
loss of inheritance.

All these losses were proximately caused by Defendants. These being elements recognized
by law as being proper elements of damages, this suit is maintained for the recovery of the just and
reasonable damages flowing to Plaintiffs by reason of the loss of these elements. Plaintiff has
suffered and will continue to suffer grief and mental anguish as a result of the death of her son, Roy
Wyatt Kemp, and will continue to suffer grief and mental anguish as a result of the death of her son.
These being elements recognized by law as proper elements of damages, this suit is likewise
maintained for the recovery of just and reasonable damages by reason of the loss of these elements
because of the negligence and gross negligence of the Defendants and the unseaworthiness of the
MODU, Deepwater Horizon.

IX.
Plaintiff incorporates by reference the allegations in paragraph V and VI above as if set forth

verbatim herein. These allegations demonstrate that Defendants acted with conscious disregard and

6-
ase 4:1, U1Y8Y bocum Age -3 Hiledin !XSU on UsiUZIZ P wy
Case 2:10-md-02179-CJB-DPC Document 7025-2 Filed Os/01/12° ‘Page 7 of 9

indifference to the rights, welfare and safety of the men aboard the Deepwater Horizon, including
Roy Wyatt Kemp, Deceased. As a result, Plaintiff is entitled to punitive damages in an amount to
be assessed by the trier of fact.

X.

Plaintiff would additionally say and show that she is entitled to recovery of pre-judgment and
post-judgment interest in accordance with law and equity as part of their damages herein and Plaintiff
here and now sues specifically for recovery of pre-judgment and post-judgment interest as provided
by law.

XI.
REQUEST FOR DISCLOSURE

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, all Defendants are hereby
requested to disclose, within fifty (50) days of service of this request, the information or material
described in Texas Rule of Civil Procedure 194.2 (a-l).

WHEREFORE, PREMISES CONSIDERED, Plaintiff, PEGGY KEMP, INDIVIDUALLY
AND IN HER CAPACITY AS THE SURVIVING NATURAL MOTHER OF ROY WYATT
KEMP, DECEASED, prays that Defendants be cited to appear and answer herein, that upon final
trial and hearing hereof Plaintiff recover her damages in accordance with the evidence, that she
recover costs of Court herein, that she recover interest to which she is entitled under law, and that
she be granted such other and further relief, general and special, legal and equitable, to which she

may show herself justly entitled.
oes Document 1-3. Filed in 1XSD on 2 rage
02179-CJB-DPC Document 7025-2 Filed 68/61/12 Pag

Respectfully submitted,

JOHN|W. STEVENSON, JR.

Texas Bar No.19196050
Weslayan Tower, Suite 750
24 Greenway Plaza

Houston, Texas 77046-2416
(713) 622-3223

(713) 622-3224 (fax)

KELLY & TOWNSEND, LLC

/s/ Taylor Townsend
TAYLOR TOWNSEND
Louisiana State Bar. No. 20021
137 Saint Dennis St.
Natchitoches, LA. 71457
(318) 352-2353

(318) 352-8918 (fax)

ATTORNEYS FOR PLAINTIFF

6 8 of 9
Lasse 4.12-Cv-Ul96y LWoCcumenl 1-3

rec

IN |ASUONUSUZiZ Mage

Case 2:10-md-02179-CJB-DPC Document 7025-2 Filed 08/01/12 Page 9 of2 _

‘

STATE’ OF aS

COUNTY OF, HG

| ci Bani : Ci oft Harris Cai rilfy that
is Is a tru ORY OF sDina
In my offca, ga aly cr harg Oppy, ag It e

es and or recorded
of this date,

CHRIS DARI
HARRIS Ge

Witness mt ,
a sss
w_Deputy
=e
Spee +
